UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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L.B., individually and on behalf of her
minor child, Kyle, proceeding under a
pseudonym,                                                                 NOTICE OF PARTIAL
                                                                           MOTION TO DISMISS
                                                   Plaintiffd,             THE AMENDED
                                                                           COMPLAINT
                            - against -
                                                                           1:23-cv-8501 (RPK) (JRC)
The City of New York; Jess Dannhauser, in
his official capacity as Commissioner,
Administration for Children’s Services of
the City of New York (“ACS”); Ariel
Semper, Nadine Cenord, Bernadette Jean-
Louis, Donna McFadden, Ana Costa,
Taiesha Coleman, and Leydi Taveras, each
individually and in their official capacity as
ACS Child Protective Specialists,

                                                 Defendants.

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                 PLEASE TAKE NOTICE that Defendants City of New York, Jess Dannhauser,

in his official capacity as Commissioner of the Administration for Children’s Services of the City

of New York as well as Defendants Ariel Semper, Nadine Cenord, Bernadet Jean-Louis, Donna

McFadden, Ana Costa, Taiesha Coleman, and Leydi Taveras individually and in their official

capacity as ACS Child Protective Specialists will move this Court before the Honorable Rachel

P. Kovner, United States District Judge, at the United States Courthouse for the Eastern District

of New York, located at 225 Cadman Plaza East, Brooklyn, New York 11201, at a date and time

to be determined by the Court, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure,

dismissing plaintiff’s certain claims in the Amended Complaint against Defendants and for such

other and further relief as the Court may deem just and proper.
Dated: New York, New York
       May 22, 2024
                                      HON. SYLVIA HINDS-RADIX
                                      Corporation Counsel of the
                                        City of New York
                                      Attorney for City Defendants
                                      100 Church Street,
                                      New York, New York 10007
                                      (212) 356-0887

                                      By:           /s/ Daniel R. Perez
                                             Daniel R. Perez
                                             Assistant Corporation Counsel

To:   All Counsel of Record via ECF




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